                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION
                                Civil Action No.: 5:17-cv-00534-H

                                                   )
EPIC GAMES, INC.,                                  )
                                                   )
                 Plaintiffs,                       )
                                                   )
v.                                                 )    PLAINTIFF’S RENEWED MOTION FOR
                                                   )           ENTRY OF DEFAULT
C.R.,                                              )
                                                   )
                 Defendant.                        )
                                                   )
                                                   )
                                                   )


        Pursuant to Fed. R. Civ. P. 55(a), Plaintiff Epic Games, Inc. (“Epic” or “Plaintiff”)

renews its motion for entry of default against C.R. (“Defendant” or “C.R.”) and requests that the

Clerk enter a default against Defendant because Defendant has failed to plead or otherwise

defend as required under the rules and the Court’s July 12, 2018 Order. In support of this

Motion, Plaintiff states as follows:

        1.       Epic filed the above-captioned case on October 23, 2017 seeking injunctive relief

and damages against the Defendant for (i) copyright infringement in violation of the Copyright

Act, 17 U.S.C. §§ 106 and 501, et seq.; (ii) contributory copyright infringement in violation of

the Copyright Act, §§ 106 and 501, et seq.; (iii) breach of contract in violation of North Carolina

law; and (iv) intentional interference with contractual relations in violation of North Carolina

law. (Comp. [DE 1] at ¶ 1.)

        2.       As described in Epic’s Declaration of Service, which Epic incorporates by

reference as if fully set forth herein, Epic encountered certain obstacles in its diligent, good faith

attempts to effect service of process on the Defendant, but was eventually able to properly effect

PPAB 4380616v3
             Case 5:17-cv-00534-H Document 23 Filed 08/09/18 Page 1 of 4
service on him and his mother on January 18, 2018. (Decl. of Serv. [DE 10] at ¶¶ 2-18; id. at

Exh. A-C.)

        3.       Defendant never responded to the complaint. Due this failure, Epic moved for

entry of default on February 13, 2018. [DE 11].

        4.       On April 3, 2018, the Court denied Epic’s motion without prejudice after

construing ex parte correspondence in the form of a letter to the Court from Defendant’s mother

as a Motion to Dismiss. (See Order [DE 13] & Motion [DE 14].) The Court further ordered

Plaintiff to respond to the arguments set out in the letter within 21 days of the Order. (See [DE

13 at 2.])

        5.       Epic filed its response to the motion on April 23, 2018. (See id. [DE 20].)

        6.       On July 12, 2018, the Court entered an order denying the letter construed as a

motion to dismiss, ordered Defendant to answer Epic’s complaint within 14 days from receiving

notice of the denial, and “[i]n an abundance of caution,” directed the clerk to serve the order on

Defendant, through his mother, at two different addresses. (See id. [DE 22].)

        7.       Moreover, Fed. R. Civ. P. 12(a)(4)(A) provides that “if the court denies [a motion

to dismiss], the responsive pleading must be served within 14 days after notice of the court’s

action. Id.

        8.       The Clerk’s office has confirmed to the undersigned counsel that the Court’s July

12, 2018 Order was served the same day it was entered-- July 12, 2018.

        9.       Under Rule Fed. R. Civ. P. 6(d), “[w]hen a party may or must act within a

specified time after being served and service is made under Rule 5(b)(2)(C) (mail) . . . 3 days are

added after the period would otherwise expire . . .” Id.

        10.      Thus, under the foregoing rules and court orders, the deadline for Defendant to

file his responsive pleading was July 30, 2018. That deadline has passed without any such

PPAB 4380616v3                           2
              Case 5:17-cv-00534-H Document 23 Filed 08/09/18 Page 2 of 4
pleading having been either filed or served. Accordingly, Defendant is in default, and default

should be entered against Defendant by the Clerk under Fed. R. Civ. P. 55(a).


       Respectfully submitted, this the 9th day of July, 2018.


                                             PARKER POE ADAMS & BERNSTEIN LLP


                                             /s/Christopher M. Thomas
                                             Christopher M. Thomas
                                             N.C. Bar No. 31834
                                             christhomas@parkerpoe.com
                                             PNC Plaza
                                             301 Fayetteville Street, Suite 1400 (27601)
                                             P.O. Box 389
                                             Raleigh, North Carolina 27602-0389
                                             Telephone:     (919) 835-4626
                                             Facsimile:     (919) 834-4564

                                             Attorney for Plaintiff Epic Games, Inc.




PPAB 4380616v3                        3
           Case 5:17-cv-00534-H Document 23 Filed 08/09/18 Page 3 of 4
                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing PLAINTIFF’S RENEWED MOTION

FOR ENTRY OF DEFAULT was electronically filed this day with the Clerk of Court using the

CM/ECF system and that a true and accurate copy of it was sent to all parties to this cause by

depositing the original and/or copy hereof, postage pre-paid, in the United States mail, addressed

as follows:


                                              C.R.
                                       c/o Lauren Rogers
                                         501 West Ave.
                                     New Castle, DE 19720

                                               and

                                                C.R.
                                         c/o Lauren Rogers
                                           5 Vireo Circle
                                         Newark, DE 19711


       This the 9th day of July, 2018.

                                              PARKER POE ADAMS & BERNSTEIN LLP


                                              /s/Christopher M. Thomas
                                              Christopher M. Thomas
                                              N.C. Bar No. 31834
                                              christhomas@parkerpoe.com
                                              PNC Plaza
                                              301 Fayetteville Street, Suite 1400 (27601)
                                              P.O. Box 389
                                              Raleigh, North Carolina 27602-0389
                                              Telephone:     (919) 835-4641
                                              Facsimile:     (919) 834-4564

                                              Attorney for Plaintiff Epic Games, Inc.




PPAB 4380616v3                           4
              Case 5:17-cv-00534-H Document 23 Filed 08/09/18 Page 4 of 4
